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EXHIBIT 6

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN CIVIL LIBERTIES UNION,
et al.,

Plaintiffs, -

Civil Action No.
98-CV-5591

vy,

ALBERTO R. GONZALES, in his official
capacity as Attorney General of the United
States,

Ne Ne ee ee ee ee ee Se Se SO ee”

Defendant.

CONDOMANIA’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST SET
OF INTERROGATORIES

Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Addazi,
Inc., d/b/a Condomia (“Plaintiff”) responds and objects to Defendant Alberto R. Gonzales’s First

Set of Interrogatories (“Interrogatories”) as follows:

GENERAL OBJECTIONS

1. Plaintiff objects to the Interrogatories to the extent the instructions and demands therein

purport to impose obligations in addition to, beyond, or different from those set forth in
‘the Federal Rules of Civil Procedure and the Rules of Civil Procedure of the United

States District Court for the Eastern District of Pennsylvania.

2. Plaintiff objects to the Interrogatories to the extent they call for the identification or

- disclosure of information that is neither relevant to the claims and defenses of any party _

in this action nor reasonably calculated to lead to the discovery of admissible evidence.
Plaintiff submits these responses and objections without conceding the relevance or ~

materiality of the subject matter of any interrogatory.
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RESPONSE TO INTERROGATORY NO. 11

Plaintiff objects to this Interrogatory because it calls for identification of information
not within the possession, custody or control of the Plaintiff. Subject to the foregoing and to the
General Objections, Plaintiff states that it has no information responsive to this request.
INTERROGATORY NO. 12

Identify the number or proportion of ACLU members who have provided a credit
card number to a website in order to purchase membership, online content, and/or other items for

sale, to make a donation, or to make a reservation (such as a rental car or hotel reservation).

RESPONSE TO INTERROGATORY NO. 12 5

Plaintiff objects to this Interrogatory because it calls for identification of information
not within the possession, custody or control of the Plaintiff. Subject to the foregoing and to the
General Objections, Plaintiff states that it has no information responsive to this request.

INTERROGATORY NO. 13

For each website plaintiff, identify a representative sample of webpages on your
website which contains material about which you fear prosecution under COPA, as referenced in
Paragraph 2 in the section titled “The Impact of COPA on Plaintiffs” on page 24 of the Amended
Complaint that “[P]laintiffs fear prosecution under COPA for communicating, sending,
displaying, or distributing material that might be deemed ‘harmful to minors’ by some
community in the United States.”

RESPONSE TO INTERROGATORY NO. 13

Plaintiff objects that this Interrogatory is premature, unreasonably cumulative and
duplicative of Document Request No. 1, and calls for identification of information that is in the

public domain. Plaintiff also objects that the phrases used to define “representative sample,”

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including “distribution of characteristics,” “degree of explicitness of sexual content,” and
“population or universe” are vague and ambiguous. Subject to the foregoing and to the General
Objections, Plaintiff refers to the web content identified in the Amended Complaint and responds
as follows:

1) http://condomania.com/safersex/ (last viewed October 23, 2005) and the links
accessible therein contain links to candid and explicit discussions of and images depicting
various aspects of sexual contact and activity, including, but not limited to, sexual intercourse,
other kinds of sexual contact and activity, and sexually transmitted diseases;

2) http://condomblogs.com/content/?roadtest (last viewed October 23, 2005) and the
links accessible therein contain, among other things, magazine reviews of Plaintiffs products
which contains candid and explicit discussions and depictions of various forms of sexual contact
and activity as well as human genitalia;

3) http://www.condomania.com/condoms.asp?dept=4 (last viewed October 23,
2005) and the links accessible therein contain, among other things, candid and explicit
discussions and depictions of various forms of sexual contact and activity as well as human -
genitalia;

4) http://www.condomania.com/gifts.asp?dept=12 (last viewed October 23, 2005)
and the links accessible therein contain, among other things, candid and explicit discussion and
images of various forms of sexual contact and activity as well as human genitalia;

5) http://www.condomblogs.com/ (last viewed October 27, 2005) and the links
accessible therein contain or may contain in the future, among other things, candid and explicit

comments or questions on a diverse category of topics posted directly by Internet web users.

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At Condomania, we believe that the best way for the public to
make educated choices about safer-sex products is through
access to accurate, non-judgmental information. Our focus on
education enables customers to feel comfortable asking
questions and sharing ideas. We provide training to insure that
the employees offer a supportive and friendly sounding board for
customers’ concerns. Sfiext »

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You are not going to believe

Astroglide Fights HIV in Lab Test

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| those numbers. Reuters reports that
Astroglide Personal
Health & Sexuality Links Lubricant has been

found to block’ the

We wouldn't quite call. ms our a
replication of the human

immunodeficiency virus
in lab tests. The
lubricants killed
HIV-infected white blood
cells and HIV in seminal fluid, according
to researchers from the University of
Texas Medical Branch in Galveston.

AIDS

- promoting safer sex,
: awareness, education, and a
: positive sexuality. And that,
- we think, is cool!

_ Dr. Samuel Baron and colleagues conducted the study to
examine over-the-counter vaginal preparations for their ability
to inhibit HIV production.

While the spermicide nonoxynol-S has been found in lab tests
to fight HIV, it doesn't prevent the virus from spreading,

probably because it causes genital irritation, the authors note in
the July 20th issue of AIDS Research and Human Retroviruses.
For this reason, the researchers only looked at non- irritating
lubricants. text »

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With You

You Reserve Respect
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Negotiating Safer
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AH About Lubricants

Just The Facts
What is Safe?

Resources & Hotlines

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Product Reviews - foad Test

Condoms are ee t To quote from Men's

the feel of condoms
isn't wildly subjective,
then we don't know
what is." Despite the
obvious, various
magazines over the years have attempted to use personal
experience as a measuring stick to rate one condom
against the next. And while we agree that a consensus of
experience can effectively sort condoms into the
categories of "worth trying” and “don't bother," in the end
the true test is going to be yours.

Men's Health 11/2003 GQ 4/2003
by Mike Zimmerman : by Peter Rubin

Condoms Reviewer
Durex Avanti
inspiral

Condoms Reviewed:
Trojan Her Pleasure
Crown Skinless Skin
Murex Ultimate Feeling
Trojan Pleasure Mesh :
Durex Intense Sensation |:
Trojan Twisted Pleasure | Trojan Supra

Night Light ~ Trojan Ultra Pleasure
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Cosmo Magazine
Glamour Magazine

Maxim Magazine
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Gifts & Novelties

Darling, step right in and get comfortable.

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Condoms, Sex, « Desire

' National HIV Testing Day

: June 27th is National HIV Testing Day. Check out hivtest.org for
' resources on HIV testing including a national database of HIV testing
' sites and answers to many questions about HIV/AIDS and testing. Stop
_ putting it off and get tested today!

[LinkLust] Posted by Kev at 10:10 AM | Comments (0)

| N-9 In TheyFit

Your product is great. The only thing I am wondering is will you
ever include Nonoxynol-9 in your just my size custom fit condoms
to help prevent pregnancy. My wife's concern. Thank you.

B at Wondering

Continue reading "N-9 In TheyFit"

» [Q&A] Posted by filchyboy at 09:08 AM | Comments (0)

Serious Fraps

condoms. Check it out!

[LinkLust] Posted by filchyboy at 08:44 AM | Comments (0)

2 Parents Just Don't Understand?

: in regard to what sexual activity at what age kids are participating in
- them -- were wildly different. ,

_ TeenPregnancy.org; sexetc.org; guri.com; Talking WithKids.org

: [LinkLust] Posted by fergie at 08:34 PM | Comments (0)

| Naming the Wicked

Meanwhile, arguing to withhold help from people ravaged by
disease because someone somewhere might have sex using
a condom — now that's "wicked."

1 of 3

Wow! One of our customers is apparently very happy with our TheyFit |

_ A recent ABC news feature & a seperate study in the UK interviewed
' teens & their parents about sex, perspectives on the topic -- especially |

_ Parents can find out more about teens & sex at the following Web sites:

Twist: and Shout.

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Kathleen Parker makes some important points about the Catholic
church's evolving stance on condoms and its effect .on. American
national politics.

[LinkLust] Posted by filchyboy at 08:44 AM | Comments (0)

New Look

Well it's been a long while but the blog is finally starting to look like our
new site. As some of our more regular readers might have noticed
Condomania switched to a new platform for our store back in the fall
and up until last night we still had our old look and feel applied to our
blog. Well that has now changed. Hopefully this transition will be
finished soon. But for now please bear with me as we wrench ourselves
into the present with a new look and feel.

[Biz] Posted by fichyboy at 08:10 PM | Comments (0}

U.S. HIV Rates on the Rise

The number of HIV diagnoses for U.S. men who have sex with
men increased by & percent last year, which also marked the
highest number of HIV/AIDS cases in the States since the 1980s. The
Center for Disease Contro! estimates 1,039,000 to 1,185,000
Americans were living with HIV in December 2003, an increase of
almost 25 percent since their last report in 2002.

[LinkLust] Posted by fergie at 01:08 PM | Camments (0)

Oral HIV testmaker addresses false results

In December 2005, a number of specific sites in San Francisco and New .

York City, and the L.A. Gay and Lesbian Center reported levels of false
positive results while using OraQuick® ADVANCE™ with oral fluid that
were higher than expected based on the previously established
performance for the product. Immediately after receiving these reports,
OraSure Technologies initiated a scientific and systematic evaluation of
each situation and has been working in collaboration with affected
customers, health care officials and government agencies including the
Centers for Disease Control and Prevention (CDC) and the U.S. Food
and Drug Administration (FDA) to determine the cause or causes for
these unexpected results.

(source: orasure.com)

"When the test was approved in 2004, it had a 98.6 percent specificity,
which means you could expect about two false positives out of a
thousand results," said Richard Klein, a HIV/AIDS program director in
the FDA. "Now the results from Los Angeles and San Francisco are
showing approximately nine false positives out of a thousand, which
the FDA still considers good specificity."

[Biz] Posted by fergie at 11:39 AM | Comments (0)

Internet Sexuality Information Services

Los Angeles County health officials unveiled a controversial tool last
week to fight the spread of HIV and other diseases: a Web site lets
people anonymously tell sex partners they may be infected.

The site, inSPOTLA.erg, is co-sponsored by the San Francisco AIDS
Foundation

[LinkLust] Posted by fergie at 04:12 PM | Comments (0}

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On the Radio

Adam will be interviewed on the Derek & Romaine Show on Sirius
Radio today. Listen in and let us know what you thought!

[Biz] Posted by filchyboy at 08:12 AM | Comments (0)

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